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UNITED sTATES DISTRICT CoURT ~'“"‘*~ED ima D-C.
wEsTERN DISTRICT oF TENNESSEE
Western Division 05 SEP *l PH 5¥ 15

  
   
  

UNITED sTATES 0F AMERICA m _ r-"-'?U;D
-vs- ease No. 2. 6§` zoosg-Wii§/Ia

TERRELL BROWN

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,
the Court makes the following appointment pursuant to the Criminal Justiee Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
- The Federal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT

' Other Defendant to pay $100.00 per Week toward cost of counsel, to begin
payments on 9/15/05

DONE and ORDERED in 167 North Main, Memphis, this / day of September,
2005.

’@~M/l;w /@ &M/UV

DIANE K. VESCOVO
UNITED STATES MAGISTRATE IUDGE

Copies furnished to'.

United States Attorney

United States Marshal

Pretrial Services Offlce

Assistant Federal Public Defender
Intake

TERRELL BROWN

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Notice of Distribution

This notice confirms a copy of the document docketed as number 53 in
case 2:05-CR-20056 Was distributed by faX, mail, or direct printing on
September 15, 2005 to the parties listed.

 

Thomas A. Colthurst

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PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

